         Case MDL No. 3089 Document 87-1 Filed 10/04/23 Page 1 of 1




                 BEFORE THE UNITED STATES JUDICIAL PANEL
                      ON MULTIDISTRICT LITIGATION


IN RE: ORAL PHENYLEPHRINE                           MDL No. 3089
MARKETING AND SALES PRACTICES
LITIGATION



                                SCHEDULE OF ACTIONS

 •   Riccio v. Pfizer Inc., 1:23-cv-13843 (N.D. Ill.)
 •   De Priest v. Walgreen Co., et al, 1:23-cv-14060 (N.D. Ill.)
 •   Hsieh v. Reckitt Benckiser LLC, et al, 1:23-cv-14404 (N.D. Ill.)
 •   Fong v. Johnson & Johnson Consumer Inc., et al, 2:23-cv-02430 (D. Kan.)
 •   Coyle v. GlaxoSmithKline, LLC, et al, No. 1:23-cv-07311 (E.D.N.Y.)
